       Case 2:19-cv-02710-HLT Document 1-1 Filed 11/19/19 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS

TEAM INDUSTRIAL SERVICES, INC.,

      Plaintiff,

      vs.

ZURICH AMERICAN INSURANCE
COMPANY, KELLI MOST, individually and
as personal representative of the ESTATE OF
                                                      Case No. ___
JESSE HENSON, TRACY DUNNAWAY,
BAILEY BURCHETT, individually and as
administrator of the ESTATE OF DAMIEN
“CRAIG” BURCHETT, DALTON
BURCHETT, and WESTAR ENERGY, INC.,
N/K/A EVERGY KANSAS CENTRAL, INC.

      Defendants.



                                     EXHIBIT LIST

Exhibit             Description
Exhibit A           Contract Change Order
Exhibit B           Aon Enrollment Application
Exhibit C           March 14, 2016 Change Order
Exhibit D           Aug. 3, 2018 Team’s Tender Letter
Exhibit E           Oct. 10, 2018 Zurich’s Denial Letter
Exhibit F           Nov. 30, 2018 Team Letter
Exhibit G           June 5, 2019 Zurich Letter
Exhibit H           Zurich OCIP policy
